                                   Case 1:17-cv-00785-SHR Document 1 Filed 05/03/17 Page 1 of 14
JS 44 (Rev. 08/ 16)
                                                                              CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provtded by local rules of court. This fonn , approved by the Judicial Conference of the United States in September 1974, is requtred for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INS711UC710NS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                                DEFENDANTS
G~ORGE F. MATHEIS, JR.                                                                                          CSL PLASMA, INC .


     (b) County of Residence of First Listed Plaintiff                                                           County of Residence of First Listed Defendant
                                   (EXCEPT IN US. PLAINTIFF CASES)                                                                                   (IN US. PLAINTIFF CASES ONLY)
                                                                                                                 NOTE:           IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                 THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                      Attorneys (If Known)
Zacnary E. Nahass, Esquire, CGA Law Firm, 135 North George Street,
York, Pennsylvania 17401
(717) 848-4900

II. BASIS OF JURISDICTION (Place an "X" inOneBoxOnlyJ                                              III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an                                              "X" in One Box for Plain/iff
                                                                                                             (Fo r Diversily Cases Only)                                                 and One Box for Defendonl)
0 I        U.S. Government                ~ 3   Federal Question                                                                            PTF        DEF                                               PTF       DEF
              Plaintiff                           (US. Governmenl No/ a Parly)                         Citizen of This State                0 I        0            Incorporated or Principal Place       0    4   0 4
                                                                                                                                                                      of Business In This State

0 2        U.S. Government                0 4   Diversity                                              Citizen of Another State             0 2        0        2   Incorporated and Principal Place      0    5   0 5
              Defendant                           (indicate Citizenship of Parties in item Ill)                                                                        of Business In Another State

                                                                                                       Citize n or Subject of a             0          0        3   Foreign Nation                        0    6   0 6
                                                                                                         Forei n Country
IV NATURE OF                   SUIT (Piacean "X" inOneBoxOnlyJ                                                                                    Click here for · Nature of Slllt      Cod~ D~scnpttons
              CONTRACT                                               TORTS                                 FORFEITURE/PENALTY                              BANh.'RUPTCY                       OTHER STATUTES
0   II 0  Insurance                       PERSONAL INJURY                 PERSONAL INJURY              0 625 Dntg Related Seizure                0 422 Appeal 28 USC I 58               0 375 False Claims Act
0   120   Marine                      0   3 I 0 Airplane               0 365 Personal Injury -                 of Propet1y 2 I USC 88 I          0 423 Withdrawal                       0 376 Qui Tam (3 I USC
0   130   Miller Act                  0   3 I 5 Airplane Product               Product Liability       0 690 Other                                         28   usc   157                         3729(a))
0   140   Negotiable Instrument                  Liability             0 367 Health Carel                                                                                               0   400 State Reapportionment
0   150   Recovery of Overpayment     0   320 Assault, Libel &                Phannaceutical                                                         PROPERTY RIGHTS                    0   4 I 0 Antitrust
          & Enforcement of Judgment              Slander                      Personal Injury                                                    0 820 Copyrights                       0   430 Banks and Banking
0   I 5 I Medicare Act                0   330 Federal Employers'              Product Liability                                                  0 830 Patent                           0   450 Conunerce
0   I 52 Recovery of Defaulted                   Liability             0 368 Asbestos Personal                                                   0 840 Trademark                        0   460 Deportation
          Student Loans               0   340 Marine                           Injury Product                                                                                           0   4 70 Racketeer Influenced and
          (Excludes Veterans)         0   345 Marine Product                   Liability                               LABOR                         SOCIAL SECURITY                              Comtpt Organizations
0   I 53 Recovery of Overpayment                 Liability              PERSONAL PROPERTY              0 710 Fair Labor Standards                0   861 HIA (I 395ft)                  0   480 Consumer Credit
          of Veteran's Benefits       0   350 Motor Vehicle            0 370 Other Fraud                         Act                             0   862 Black Lung (923)               0   490 Cable/Sat TV
0   160 Stockholders' Suits           0   355 Motor Vehicle            0 37 I Tmth in Lending          0   720 Labor/Management                  0   863 DIWC/ DIWW (405(g))            0   850 Securities/Commodities/
0   I 90 Other Contract                         Product Liability      0 380 Other Personal                      Relations                       0   864 SSID Title XVI                           Exchange
0   I 95 Contract Product Liability   0   360 Other Personal                  Property Damage          0   740 Railway Labor Act                 0   865 RSI (405(g))                   0   890 Other Statutory Actions
0   I 96 Franchise                              Injury                 0 385 Property Damage           0   75 I Family and Medical                                                      0   89 I Agricultural Acts
                                      0   362 Personal Injury-                Product Liability                  Leave Act                                                              0   893 Environmental Matters
                                                Medical Malpractice                                    0   790 Other Labor Litigation                                                   0   895 Freedom oflnfonnation
          R EAL PROPERTY                    C IVIL RIGHTS               PRISONER PETITIONS             0   79 I Emp loyee Retirement                 FEDERAL TAX SUITS                            Act
0   2 I 0 Land Condemnation           0   440 Other Civil Rights           Habeas Corpus:                       Income Security Act              0 870 Taxes (U.S. Plaintiff            0   896 Arbitration
0   220 Foreclosure                   0   441 Voting                   0   463 Alien Detainee                                                          or Defendant)                    0   899 Administrative Procedure
0   230 Rent Lease & Ejectment        0   442 Employment               0   510 Motions to Vacate                                                 0 871 IRS-Third Party                           Act/Review or Appeal of
0   240 Torts to Land                 0   443 Housing/                         Sentence                                                                26 usc 7609                               Agency Decision
0   245 Tort Product Liability                 Accommodations          0   530 General                                                                                                  0   950 Constitutionality of
0   290 All Otl1er Real Property      0 445 Amer. w/Disabilities-      0   535 Death Penalty                 IMMIGRATION                                                                         State Statutes
                                            Employment                     Other:                      0 462 Naturalization App lication
                                      ~ 446 Amer. w/Disabilities-      0   540 Mandamus & Other        0 465 Other Immigration
                                            Other                      0   550 Civil Rights                  Actions
                                      0 448 Education                  0   555 Prison Condition
                                                                       0   560 Civi l Detainee-
                                                                               Conditions of
                                                                               Confinement

V. ORIGIN            (Place an ")(" in One Bux Only)
~ I Original                 0 2 Removed from               0    3    Remanded from               0 4 Reinstated or          0    5 Transferred from                0 6 Multidistrict            0 8 Multidistrict
    Proceeding                   State Court                          Appellate Court                 Reopened                      Another District                    Litigation -                 Litigation -
                                                                                                                                     (specify)                          Transfer                     Direct File
                                           Cite the U.S. Civil Statute under which Cou are filing (Do          1101   citejllrL•·dictimwl statutes wrles.1· diversity) :
VI.    CAUSEOFACTION~4~2~U~._S_
                              . C~·~§§~12~1_8_1-_1_2_18_9~,_28___
                                                                .F_
                                                                  .R_._P_a_rt_3_6__________________________________________
                                           Brief description of cause:
                       violation of Title Ill of Americans with Disabilities Act
VII. REQUESTED IN     0 CHECK IF THIS IS A CLASS ACTION              DEMAND$                                                                                    CHECK YES only if demanded in complaint:
     COMPLAINT:            UNDER RULE 23, F.R.Cv.P.                    1,000,000 .00                                                                            J URY DEMAND:                J& Yes      0 No
VIII. RELATED CASE(S)
                         (See instructions):
      IF ANY                                                                                                                                         DOCKET NUMBER
DATE
05/03/2017
FOR OFFICE USE ONLY

    RECEIPT#                       AMOUNT                                     APPLYING IFP                                        JUDGE                                     MAG. JUDGE
                    Case 1:17-cv-00785-SHR Document 1 Filed 05/03/17 Page 2 of 14

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                             for the
                                                 Middle District of Pennsylvania


                GEORGE F. MATHEIS, JR.                          )
                                                                )
                                                                )
                                                                )
                            P/aintiff(s)                        )
                                                                )
                                v.                                     Civil Action No.
                                                                )
                     CSL PLASMA, INC.                           )
                                                                )
                                                                )
                                                                )
                          Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant 's name and address) CSL PLASMAN, INC., 5201 Congress Avenue, Suite 220, Boca Raton, FL 33487 with
                                    a location at CSL Plasma, 2430 Eastern Boulevard, York, PA 17402




         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3 ) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Zachary E. Nahass, Esquire
                                 CGA Law Firm
                                 135 North George Street
                                 York, PA 17401



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your an swer or motion with the court.



                                                                         CLERK OF COURT


Date:
                                                                                    Signature of Clerk or Deputy Clerk
                        Case 1:17-cv-00785-SHR Document 1 Filed 05/03/17 Page 3 of 14

AO 440 (Rev . 06/12) Summons in a Civi l Action (Page 2)

 Civil Action No.

                                                        PROOF OF SERVICE
                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (/))

           This summons for (name of individual and title, if any)
was received by me on (date)


           0 I personally served the summons on the individual at (place)
                                                                                   on (date)                            ; or
          -------------------------------------------------
           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                    , a person of suitable age and discretion who resides there,
          -------------------------------------
           on (da te)                                'and mailed a copy to the individual's last known address; or

           0 I served the summons on (name of individual)                                                                        , who is
                                                                        ---------------------------------------
            designated by law to accept service of process on behalf of (name of organization)
                                                                                   on (date)                            ; or
          ---------------------------------------------                                        ------------------
           0 I returned the summons unexecuted because                                                                                ; or

           0 Other (specify):




           My fees are$                              for travel and $                   for services, for a total of$          0.00
                                                                        --------- - -


           I declare under penalty of perjury that this information is true.



Date:
                                                                                               Server 's signature



                                                                                           Printed name and title




                                                                                               Server 's address


Additional information regarding attempted service, etc:
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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


GEORGE F. MATHEIS, JR.

                         Plaintiff

                                                            Civil Action No.
                 V.


CSL PLASMA, INC.

                         Defendant


          Plaintiff, George F. Matheis, Jr., by his undersigned attorneys, hereby files this

Complaint, and alleges the following upon information and belief:

          1. Plaintiff brings this action against Defendant, CSL Plasma, Inc. ("CSL") for

violation of Title III of the Americans with Disabilities Act of 1990, as amended

("ADA"), 42 U.S.C. §§ 12181-12189, and its implementing regulation, 28 C.F.R.

Part 36, by discriminating on the basis of Plaintiffs disability or perceived

disability and failing to reasonably modify its policies, practices, or procedures to

permit the Plaintiff, an individual with a disability, the use of a service animal.

         2. Defendant owns and operates CSL Plasma Inc., a place of public

accommodation, that discriminated against an individual with a disability by

denying him accommodation and service at the business because the individual

with a disability was accompanied by his service animal.



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          3. Defendant's actions intentionally caused or recklessly disregarded the

 substantial probability of causing, severe emotional distress to the Plaintiff.

                                    Jurisdiction and Venue

           4. The Court has jurisdiction of this action pursuant to 42 U.S.C. §

 12188(b)(1)(B) and 28 U.S.C. §§ 1331 and 1345. This Court has authority to grant

a declaratory judgment pursuant to 28 U.S.C. §§2201 and 2202 and authority to

grant equitable relief, monetary damages, and civil penalties under 42 U.S.C.

§ 12188(b )(2).

           5. Venue lies in this judicial district pursuant to 28 U.S.C. § 1391(b) because

Defendant operates a place of business in this District, and the acts of

discrimination occurred in this District.

                                            Parties

            6. Plaintiff is a citizen of the Commonwealth of Pennsylvania, residing in

Brogue, Pennsylvania 17309.

            7. Defendant is a Florida Corporation with its principal place of business at

5201 Congress Avenue, Suite 220, Boca Raton, FL 33487. CSL Plasma, Inc. is a

division ofCSL Behring, headquartered in King of Prussia, Pennsylvania. Further

Defendant owns and operates the CSL Plasma location at 2430 Eastern Boulevard,

York, P A 17 402 ("East York location"), where the acts of discrimination occurred.

CSL' s East York location is a place of public accommodation within the meaning



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 of Title III ofthe ADA, 42 U.S.C. § 12181(7) and its implementing regulation 28

 C.P.R.§ 36.104 is subject to its requirements. 42 U.S.C. § 12182(a).

                                                  Facts

                8. The Plaintiff is a veteran of the armed forces and also a retired police

officer.

                9. As a result of his military and law enforcement service, Plaintiff has been

diagnosed since August, 2000 with post-traumatic stress disorder ("PTSD") which

substantially limits his brain function and other major life activities.

                1O.Plaintiff is an individual with a disability within the meaning of the

ADA. See 42 U.S.C. § 12102; 28 C.P.R.§ 36.104.

                11.To assist with his disability, the Plaintiff utilizes a dog trained to perform

tasks directly related to his disabilities, including providing him with physical

support, pressure therapy, and assisting Plaintiff in dealing with his PTSD by

alleviating symptoms of Plaintiff's psychiatric disability.            Plaintiff's dog is a

service animal within the meaning of28 C.P.R. §36.104.

                12.Additionally, the Plaintiff is a trainer with Veteran Service Canines, Inc.,

a Pennsylvania non-profit organization dedicated to training dogs to become

service animals for veterans.

                13 .Defendant is a public company which, among other things, collects

plasma donations at various locations nationwide.



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                 14. The Defendant\regularly solicits the public to donate plasma at its

donations centers and pays for such donations.

                 15.The Defendant's website indicates that anyone can be a donor who: is in

good health, is 18 or older, weighs at least 110 lbs, has had no tattoos or piercings

within the last 12 months, meets eligibility and screening requirements, has valid

identification, and has a permanent address.

                 16.Plaintiff meets all of these requirements.

                 17.The Defendant's website indicates that individuals who donate can make

up to $400 a month for their donations.

                 18.Plaintiffhas been a regular donor of plasma at Defendant's East York

location. Prior to December 2016, Plaintiff had made more than 90 such

donations. Typically, Plaintiff would donate twice a week and receive an average

of $250-$300 monthly from Defendant for those donations.

                 19.0n or about December 9, 2016, the Plaintiff went to Defendant's East

York location to make such a plasma donation. The Plaintiffs service dog

accompanied him during the course of that visit.

                 20.At that time, the Plaintiff was told by an employee of the Defendant that

Plaintiff would have "to talk to the nurse" before he would be permitted to donate.




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               2l.Plaintiff was directed to another employee of the Defendant, who was

purported to be a nurse, and Plaintiff numerous questions asked about his

 disability.

               22.Among other questions, the nurse asked Plaintiff what his disability was

and what services his dog provided.

               23.The nurse instructed the Plaintiffthat CSL's policy prohibits all dogs

other than seeing-eye dogs.

               24. The Plaintiff explained that his dog is a service animal that is qualified to

be present in the same manner as a seeing-eye dog, but Defendant still refused to

allow Plaintiff to donate.

               25.At that time, the Plaintiff volunteered that he would put his service dog

into the car in order to facilitate his plasma donation.

               26. The nurse refused to permit Plaintiff to donate and informed Plaintiff that

he would be required to produce a letter from his physician certifying his fitness to

donate plasma without his service animal before the Defendant would allow him to

make any future plasma donations.

               27.The Plaintiff did not make any plasma donation on that day and has not

made any donations since that time.




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               28.Plaintiffwas humiliated, embarrassed, angered and distraught by the

treatment he received at Defendant's place of business and through Defendant's

employees' actions.

               29.Immediately following his December 9, 2016 visit to Defendant's East

York location, Plaintiff suffered severe emotional distress, which manifested in

feelings of aggression, rage and despair.

               30.Plaintiff suffered monetary losses as a result of being unable to make

regular plasma donations.

                                      CAUSES OF ACTION

                         Title III of the Americans with Disabilities Act

      31. The allegations contained in the preceding paragraphs are

incorporated by reference.

      32. Defendant through its conduct alleged herein discriminated against

Plaintiff on the basis of Plaintiffs disability or on his perceived disability in

the full and equal enjoyment of Defendant's services, facilities, privileges,

advantages, and accommodations, in violation of 42 U.S.C. §12182, and its

implementing regulations at 28 C.F.R. Part 36.

      33. Specific violations of Title III committed by Defendant include, but

are not necessarily limited to:




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        a. Discriminating against Plaintiff on basis of his disability or perceived

 disability by excluding Plaintiff from a place of public accommodation and

denying him full and equal enjoyment of the "goods, services, facilities,

privileges, advantages, [and] accommodations" of that public

accommodation in violation of 42 U.S.C. §12182(a); 28 C.P.R.§ 36.201(a);

       b. Making inquiries about Plaintiffs disability that are prohibited under

the Americans with Disabilities Act;

       c. Failing or refusing to modify policies, practices, or procedures to

permit the use of a service animal by an individual with a disability in

violation of28 C.P.R. §36.302(c)(l);

       d. Denying Plaintiff the opportunity to participate in or benefit from the

goods, services, facilities, privileges, advantages, or accommodations of a

place of public accommodation in violation of 42 U.S.C.

§12182(b)(l)(A)(i); 28 C.P.R. §36.202(a);

       e. Failing to make reasonable modifications in policies, practices, or

procedures, when such modifications are necessary to afford Defendant's

goods, services, facilities, privileges, advantages, or accommodations to

individuals with disabilities in violation of 42 U.S.C. § 12182(b)(2)(A)(ii);

28 C.P.R. § 36.302;




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       f. Applying and imposing eligibility criteria that screen out Plaintiff from

duly and equally enjoying privileges, accommodations, and advantages

being offered by CSL, on the basis of Plaintiffs disability, by requiring him

to provide a written note or letter relating to his fitness to donate plasma,

when no such letter is required of anyone else, and Plaintiff meets all other

criteria set forth by Defendant, in violation of28 C.P.R.§ 36.301(a); and

      g. Refusing, or failing to allow the Plaintiff opportunity to donate plasma,

and be paid for his donation, even after the Plaintiffs service animal was

excluded and removed from the premise, in violation of 28 C.P.R. §

36.302(c)(3).

      34. As a direct and proximate result of Defendant's conduct in violation

of Title III of the ADA, 42 U.S.C. §§ 12181 -12189, and its implementing

regulation, 28 C.P.R. pt. 36, Plaintiff sustained damages, was harmed and is

aggrieved.

                            Infliction of Emotion al Distress

      3 5. The allegations contained in the preceding paragraphs are

incorporated herein by reference.

      36. The Defendant, by and through its actions in: questioning the

Plaintiff about his disability and his use of a service animal, refusing to

allow Plaintiff to donate plasma in the same manner as any other member of



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the public, refusing to allow Plaintiff to donate plasma even after the service

animal was excluded from the premise, and requiring the Plaintiff to provide

a letter related to his ability to donate, thereby intentionally caused, or

recklessly disregarded the substantial probability of causing, severe

emotional distress to the Plaintiff.

       37. Defendant's actions were extreme and outrageous, and specifically

the type of discrimination the Americans with Disabilities Act is intended to

prevent.

       38. Plaintiff suffered severe emotional distress as a result ofDefendant's

actions.

                                     Prayer for Relief

      39.WHEREFORE, Plaintiff prays that this Court grant the following

relief:

      40.Grant judgment in favor of the Plaintiff and declare that the

discriminatory actions, practices, and policies of Defendant as set forth
                                    '

above, violate Title III ofthe ADA, 42 U.S.C. §§12181-12189, and its

implementing regulation, 28 C.P.R. Part 36;

      4l.Enjoin Defendant, its officers, agents, and employees, and all other

persons in active concert or participation with Defendant, from

discriminating on the basis of disability against Plaintiff, other individuals



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       ;
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 with disabilities, and other individuals related to or associated with an

 individual with a disability in violation of Title III of the ADA, 42 U.S.C.

 §§12181-12189, and its implementing regulation, 28 C.P.R. Part 36;

       42.0rder Defendant, its officers, agents, and employees, and all other

persons in active concert or participation with Defendant to adopt and

implement a policy of nondiscrimination against persons with disabilities,

including persons who use service animals, and to make reasonable

modifications to policies, practices, and procedures to ensure that goods,

services, facilities, privileges, advantages, and accommodations are afforded

to individuals with disabilities, including those who use service animals;

       43.0rder Defendant to design and implement appropriate staff training

programs to ensure that all personnel affiliated with Defendant who have

contact with members of the public (whether employees or independent

contractors) are knowledgeable about the policies related to the provision of

goods and services to persons with disabilities;

      44. Award monetary damages to Plaintiff, in an appropriate amount for

injuries suffered as the result of Defendant's failure to comply with the

requirements ofTitle III ofthe ADA, 42 U.S.C. §§12181-12189, and 28

C.P.R. § 36.504;




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                Case 1:17-cv-00785-SHR Document 1 Filed 05/03/17 Page 14 of 14



        45. Award Plaintiff compensatory damages, including damages for

expenses, pain and suffering, and emotional distress in an appropriate

amount for injuries suffered as a result of the Defendant's failure to comply

with the requirements of Title III of the ADA and 28 C.P.R. Part 36.

       46. On Plaintiffs Second Cause of Action for Infliction of Emotional

Distress, award compensatory and punitive damages in an amount to be

determined at trial, but in no event less than $1,000,000.00.

       47.Assess a civil penalty against Defendant as authorized by 42 U.S.C.

§12188(b)(2)(c) in an amount sufficient to vindicate the public interest;

       48.Authorize the award of Plaintiffs reasonable attorney's fees and

litigation expenses as allowed under 28 C.P.R. § 36.505 along with interest,

costs, and other such relief as this Court may deem appropriate; and

       49.0rder such other appropriate relief as the interests of justice may

reqmre.

Dated - - - - -, 2017                            CGALawPirm
                                                 Attorney for Plaintiff


                                                 By:     Is/ Zachary E. Nahass
                                                        Zachary E. Nahass
                                                        PA314834
                                                        135 North George Street
                                                        York, Pennsylvania 17401
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                                                        (717) 843-9039
                                                        znahass@cgalaw.com


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